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11                         IN THE UNITED STATES DISTRICT COURT
12                           NORTHERN DISTRICT OF CALIFORNIA
                                     OAKLAND DIVISION
13
     IN RE GOOGLE RTB CONSUMER                        CASE NO. 4:21-CV-02155-YGR-VKD
14   PRIVACY LITIGATION

15                                                    PLAINTIFFS’ ADMINSTRATIVE
16                                                    MOTION PURSUANT TO L.R. 6-3
     This document applies to all actions.            AND 7-11 TO REVISE CASE
17                                                    SCHEDULE

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 1 I.       INTRODUCTION

 2          Pursuant to Civil Local Rules 6-3 and 7-11, and for the reasons set forth below and in the

 3 accompanying Declaration of Elizabeth C. Pritzker, plaintiffs seek an order:

 4            (1) setting a hearing on plaintiffs’ motion for class certification (ECF Nos. 546 –558-8);

 5                and

 6            (2) extending the current case schedule (see ECF Nos. 530, 534) by approximately two

 7                months to allow the Court to hear and decide that motion.

 8 The requested case extension, which may be on an interim basis subject to any further modification

 9 by the Court at or following the hearing on plaintiffs’ motion for class certification, is as follows:

10          Event                                 Proposed Case Extension/New Dates

11          Fact Discovery Cut-Off                From January 19, 2024 to March 15, 2024

12          Opening Expert Reports                From February 9, 2024 to April 12, 2024

13          Rebuttal Expert Reports               From March 15, 2024 to May 17, 2024

14          Close of Expert Discovery             From April 12, 2024 to June 14, 2024

15          Dispositive/Daubert Motions           From May 17, 2024 to July 19, 2024

16 Plaintiffs, through their lead counsel, have conferred with Google LLC (“Google”) and its counsel

17 regarding the requested case extension, starting on December 4, 2023 and finally on December 15,

18 2023, as Civil Local Rules 6-3 and 7-11 require. See Pritzker Decl. ¶12. Despite these extended meet
19 and confer efforts, in the last conference of counsel, Google’s counsel represented that Google has

20 not authorized its counsel to agree to the requested case extension, necessitating this motion. Id.

21 II.      ARGUMENT

22          Good cause exists for the relief requested by this motion. The current case schedule does not

23 provide for a hearing date on plaintiffs’ class certification motion and plaintiffs are acutely aware

24 that the Court’s docket is significant. Class certification and related Daubert briefing is not set to

25 close until December 22, 2023, however. See ECF Nos. 616 – 623; Pritzker Decl. ¶¶6-7. This leaves

26 little scheduling room for the Court to hear1 - let alone adjudicate – plaintiffs’ class certification

27

28   1 Plaintiffs are aware that the Court is unavailable on Wednesday, January 17, 2024.

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 1 motion prior to the current fact discovery cut-off date of January 19, 2024. See ECF Nos. 530, 534.

 2            Additionally, under the current case schedule, the parties’ opening merits expert reports are

 3 due February 9, 2024. See id. Absent a brief case extension to allow the Court to rule on the pending

 4 class certification motion, the parties and the Court will be forced to expend substantial sources

 5 preparing and evaluating the parties’ merits expert reports, but without the benefit of the Court’s

 6 decision as to the suitability for class treatment of the claims and defenses at issue.

 7            Plaintiffs have exercised diligence in prosecuting their class claims. Class certification

 8 briefing in this matter has been extended three times over the past year due to discovery delays on

 9 Google’s part – first, from September 23, 2022 to January 24, 2023 (ECF No. 329), then from January

10 24, 2023 to May 23, 2023 (ECF No. 391), and then from May 23, 2023 to July 14, 2023 (ECF Nos.

11 515, 534). Pritzker Decl. at ¶¶4-6. Additional discovery delays related to Google’s late production

12 of documents from one its class certification witnesses’ custodial file on November 1, 2023 and

13 Google’s inability to present that witness for deposition until November 15, 2023 required a further

14 short extension (from November 17, 2023 to November 29, 2023) for Plaintiffs to file their class

15 certification reply brief. See ECF No. 612.

16            Plaintiffs met the November 29, 2023 class certification reply filing deadline, and Plaintiffs’

17 Daubert motion with respect to Mr. Deal accompanied that filing. See ECF Nos. 616 - 623. The

18 briefing schedule on plaintiffs’ Daubert motion was set by the Court on November 29, 2023 (ECF
19 No. 624), and allowed for all class certification briefing to be concluded this year prior to the

20 Christmas holidays – with Google’s opposition due December 13, 2023 and plaintiffs’ reply due

21 December 20, 2023 (id). Google timely filed its opposition briefing under seal (ECF No. 633), and

22 plaintiffs will timely file their reply brief by December 20, 2023. Pritzker Decl. ¶6.

23            These extensions to allow for Google to meet its discovery obligations have resulted in an

24 extremely compressed case schedule once class certification briefing is completed . In its September

25 7, 2022 case scheduling order, the Court anticipated a schedule in which fact discovery would close

26 approximately 10 weeks after class certification briefing is concluded, and expert merits reports

27 would be due roughly 4 weeks later. See ECF No. 329. Under the current case schedule, fact

28 discovery closes just 4 weeks after the close of class certification briefing, on January 19, 2024, and

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 1 merits expert reports are due just 3 weeks later, on February 9, 2024. The Court is unavailable during

 2 the week of December 25-29, 2023 (as are plaintiffs’ counsel), and is also unavailable on January

 3 17-19, 2024 and February 8-9, 2024. See N.D. Cal. Court Calender for Judge Yvonne Gonzalez

 4 Rogers, https://apps.cand.uscourts.gov/CEO/cfd.aspx?7145, last accessed on December 18, 2023.

 5 Therefore, there is very little time on the Court’s calendar to schedule a hearing on plaintiffs’ class

 6 certification motion prior to the fact discovery cut-off of January 19, 2024 or, potentially, the expert

 7 merits opening report deadline of February 9, 2024. Nor does the current schedule allow for the Court

 8 to rule on plaintiffs’ class certification motion ahead of these case deadlines. Pritzker Decl. ¶¶7-9.

 9            The modest extension plaintiffs propose also is necessary to allow time for plaintiffs to

10 complete class discovery after the Court rules on the pending class certification motion. To date,

11 Google has refused to produce certain class discovery, claiming it is not relevant unless the Court

12 certifies a class. See, e.g., ECF No. 269-1 at p.22 (“Google…objects to this Request [No. 12] to the

13 extent it is not limited to the named Plaintiffs and, instead, seeks information and documents relating

14 to individual putative class members when no class has been certified.”). Pritzker Decl. ¶10. Under

15 the current schedule, as noted, fact discovery is likely to close even before the Court hears plaintiffs’

16 class certification motion. The fair administration of justice weighs in favor of a short case extension

17 to allow plaintiffs to fairly conduct class discovery that Google has refused to produce unless and

18 until the Court certifies a class in this matter. Id.
19            Finally, the requested modest case extension, if granted, will not upset the Court’s calendar.

20 No hearing date has been set by the Court to hear plaintiffs’ class certification motion. Nor have

21 hearing dates been established for dispositive motions, for the parties’ pre-trial conference, or for

22 trial. Pritzker Decl. ¶11.

23 III.       CONCLUSION

24            For the foregoing reasons, plaintiffs respectfully request that the Court extend the current

25 case schedule (see ECF Nos. 530, 534) as follows:

26            Event                                 Proposed Case Extension/New Dates

27            Fact Discovery Cut-Off                From January 19, 2024 to March 15, 2024

28            Opening Expert Reports                From February 9, 2024 to April 12, 2024

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 1           Rebuttal Expert Reports             From March 15, 2024 to May 17, 2024

 2           Close of Expert Discovery           From April 12, 2024 to June 14, 2024

 3           Dispositive/Daubert Motions         From May 17, 2024 to July 19, 2024

 4           Plaintiffs further respectfully request that the Court set a case management conference in

 5 conjunction with the Court’s scheduling of any hearing on plaintiffs’ class certification motion, so

 6 the parties can discuss with the Court whether any further adjustments to the case schedule are

 7 warranted, and also discuss pre-trial conference and trial dates which have not yet been set.

 8 Dated: December 18, 2023                               Respectfully submitted

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